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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

CRYSTALLEX INTERNATIONAL CORP.,               )
                                              )
               Plaintiff,                     )
                                              )
        v.                                    )   Misc. No. 17-151-LPS
                                              )
BOLIVARIAN REPUBLIC OF                        )
VENEZUELA,                                    )
                                              )
               Defendant.                     )

                            NOTICE OF FILING OF
         TOPPING PERIOD BID MATERIALS RECEIVED BY SPECIAL MASTER

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Dated: July 2, 2025
12341371 / 21202.00001
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                PLEASE TAKE NOTICE THAT the Special Master1 hereby files the topping bid

proposal letters and proposed SPAs (where applicable)2 (the “Bid Materials”) submitted by the

four (4) bidders not recommended as the Recommended Bidder by the Special Master (the “Bid

Materials”).3 The Special Master separately filed the final bid letter and other bid materials submitted

by the Recommended Bidder as exhibits to the Special Master’s Final Recommendation (D.I. 1837,

Ex. B, Ex. E–H). The Bid Materials submitted by: (i) Red Tree Investments, LLC (“Red Tree”) in

connection with its Revised Stalking Horse Bid are attached hereto as Exhibit A; (ii) Bidder A are

attached hereto as Exhibit B; (iii) Bidder B are attached hereto as Exhibit C; and (iv) Black Lion are

attached hereto as Exhibit D. The Bid Materials attached hereto contain minimal redactions intended

to preserve the confidentiality of Bidder A and Bidder B’s identity and any other sensitive information.4

See Memorandum Order Regarding Sale Process and Litigation dated December 31, 2024

(D.I. 1517) ¶ 23.




1
     All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
     such terms in the Sixth Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B)
     Approving Special Master’s Report and Recommendation Regarding Proposed Sale Procedures
     Order, (C) Affirming Retention of Evercore as Investment Banker by Special Master and (D)
     Regarding Related Matters (D.I. 481) (the “Sale Procedures Order”) and in the Special Master’s
     Final Recommendation (D.I. 1837) (the “Final Recommendation”).
2
     Black Lion Capital Advisors, LLC (“Black Lion”) did not submit a proposed SPA together with
     its topping bid proposal letter.
3
     The Bid Materials attached hereto do not include the financing commitment letters submitted by
     the applicable bidders, if any.
4
     The identity of Red Tree is public in connection with its Stalking Horse Bid and the identity of
     Black Lion is public as its bid letter was docketed by the Court on June 23, 2025. See D.I. 1822.
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                                             Respectfully submitted,
                                             POTTER ANDERSON & CORROON LLP

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Dated: July 2, 2025                          Counsel for Special Master Robert B. Pincus
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